      Case 4:21-cv-03462 Document 1 Filed on 09/16/21 in TXSD Page 1 of 3




                  IN THE UNITED STATES DISTRICT COURT

                   FOR THE E STERN DISTRICT OF TEXAS

                                BEAUMONT DIVISION

DR. J MES WARNER DINGMAN, PhD,
TDCJ #1392494, DEFENDENT


Vs.                                                 CAUSE No.: 1126750; 1126751
                                                              1054943; 107858 .
STATE OF TEXAS , PROSECUTION.


                                 OMNIBUS MOTION

         COMES NOW DEPENDENT DR. DINGMAN, IN THE BOVE S YLED
CAUSES REQUESTING A WRIT OF M NDAMUS; AND PRODUC ION OF DOCUMENTS
BY THE HARRI COUNTY SHERIFFS OFFICE AS WELL AS THE 209TH AND
183RD DISTRICT COURTS FOR HARRIS COUNTY TEXAS.


                                  I. BACKGROUND
         O JUNE 18TH, 2021 I ROTE TO H RRIS COUNTY DISTRICT
CLERK M RILYN BURGESS REQUESTING COPIES OF THE SHERIFFS DEPT.'S
OFFENSE REPORTS AND INDICTMENTS FOR THE ABOVE STYLED CAUSES
No.'S. MRS. BURGESS' OFFICE PRODUCED DOCUMENTS WITH A CRIMINAL
SEARCH FROM THERE OFFICE THAT STATED THE POLCIES REPORTS No.'S
BE NG, 1. 051012G487 (CASE #1054943); 2. 060730 303 ( CASE #1078
582[HARRIS Co. FIRE MARSH LS OFFICE]); 3. 0739668 (CASE1 # 11267-
50 & 1126751). UPON FAMILY CONTACTING THE SHERIFFS DEPT. THEY
HAVE REPE TEDLY STATED THAT NONE OF THE REPORT NO-S ARE CORRECT
          LL ATTEMTPS TO PROCURE THESE REPORTS HAVE BEEN BLOCKED
FROM THE COUNTY SHERIFFS OFFICE AND THE DISTRICT COURT STATES
THEY DO NOT HAVE THESE DOCUMTNETS.


                                 II. CONCLUSION.

         WHEREFORE DEPENDENT SEEKS RELIEF FROM THE U.S.D.C. TO
FORCE THE SHERIFFS DEPT. AND OR COUNTY CLERKS OFFICE TO PRODUCE
THESE DOCUMENTS SO THEY MAY BE PURCHESED BY THE DEPENDENT. WITH
STAT ENT OF THE REQUIRED FEE'TO PAY FOR THE DOCUMENTS AND BE

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    Case 4:21-cv-03462 Document 1 Filed on 09/16/21 in TXSD Page 2 of 3




GIVEN CONTACT INFO. TO THE PERSON ND OR OFFICE TO CONTACT TO
RECIEVE THESE DOCUMENTS.


        WHEREFORE , DUE TO THE HARRIS COUNTY DISTRICT COURTS
REFUS L O NS ER PREVIOUS MOTIONS CONCERNING THIS MATTER AND
THE CRIMINAL APPEALS COURT OF TEXAS DEFENDENT SEEKS RELIEF FROM
THE U.S.D.C. FOR THE EASTERN DISTRICT OF TEXAS WHERE DEFENDENT
CURRENTLY RESIDES IN THE TEXAS DEPT. OF CRIMINAL JUSTICE , L.V.
HIGHTOWER UNIT, DAYTON, TEXAS, COUNTY OF LIBERTY.


        WHEREFORE DEPENDENT PRAYS THE COURT GRANT THIS MOTION


RESPECTFULLY SUBMITTED




                                   RGY, PhD, DEPENDENT
PRO SE, #1392494 902 F.M. 686, DAYTON, TEXAS 77535


                        CERTIFIC TE OF SERVICE


        I HEREBY CERTIFY THAT THE ABOVE FOREGOING DOCUMENT WAS
SERVED BY PLACING SAME IN THE UNITED STATES POSTAL SERVICE
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                        Case 4:21-cv-03462 Document 1 Filed on 09/16/21 in TXSD Page 3 of 3




JAMES DINGMAN SI . CLERGY
#1392494
902 F.M. 686 ZMj , r                                        MOR Hi HOOSTOM TX 773
DAYTON, K 77                                                 ' M SEP.3O21 -PCT3 O


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           CLERK. U.S. DISTRICT COURT       IOOSWICTOW0ST D1S CT 0F
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           EASTERN DISTRICT OF TEXAS
               BEAUMONT, TEXAS


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